CaSe 1-17-46613-nh| DOC 45 Filed 03/12/18 Entered 03/12/18 15256212

US BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

BRACHA CAB CORP., ET. AL.

________________________________________ X

S l R S:

l7-466l3-NHL

NOTICE OF MOTION

CHAPTER ll

HON. NANCY HERSHEY
LORD

PLEASE TAKE NOTICE that upon the annexed application of

unsecured creditor, RONALD JEAN
& Grossman, a hearing will be
Hershey Lord, Bankruptcy Judge
Court, Eastern District, 27l-C

New York on April 12, 2018 at

3200 p.m.

PIERRE, by his attorneys, Mallilo
held before the Honora]ole Nancy
at the United States Bankruptcy

Cadman Plaza E #1595`, Brooklyn,

or soon thereafter as

counsel can be heard for an Order granting RONALD JEZ-\N PIERRE,

relief from the automatic stay, pursuant to ll U.S`.C. §362(a) and

(d), to permit this unsecured creditor to seek the insurance

proceeds of the individual Chapter ll Debtor, and not the Debtor

individually, together with such other and further relief the

Court deems just and equitable.

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PLEASE TAKE FURTHER NOTICE, that Objections, if any, to
the relief requested, must be served upon and received by Mallilo
& Grossman, at their offices, located at 163-09 Northern
Boulevard, Flushing, New York 11358, and filed With the Court at
least five (5) days before the hearing date set forth above.

Dated: Flushing, New York
March 5, 2018

MALLILO & GROSSMAN

{///¢:::;/%;L~»*~““
B : FRANCE CO POMARA, JR., ESQ.

Attorneys for Unsecured
Creditor DUPITON

163-09 Northern Boulevard
Flushing, New York 11358
(718) 461-6633

To:

ROSENBERG, MUSSO & WEINER, LLP
ATTORNEYS FOR JOINTLY ADMINISTERED DEBOTORS
Fit TaXi Corp

Jackhel Cab Corp

Jarub Trans Corp

Lechaim Cab Corp

Merab Cab Corp

NY Canteen Taxi Corp

NY Energy Taxi Corp

NY Genesis Taxi Corp

NY Stance Taxi Corp

NY Tint Taxi Corp

Somyash Taxi Corp

Tamar Cab Corp

26 COURT STREET, SUITE 2211
BROOKLYN, NY 11242

ATTTENTION BRUCE WEINER, ESQ.

Capital One Eguipment Finance Corp.
c/o Troutman Sanders LLP

875 Third Avenue

New York, NY 10022~6225

Capital One TMF

c/o Skadden Arps Slate
Meagher & Flom LLP

4 Times Square

New York, NY 10036-6518

 

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Capital One TMF

c/o Skadden Arps Slate
Meagher & Flom LLP

4 Times Square
Brooklyn, NY 11213

Capital One Taxi
Medallion Finance

275 Broadhallow Rd
Melville, NY 11747-4808

Capital One TaXi
Medallion Finance

275 Broadhollow Rd
Melville, NY 11747-4808

Cheryl Worrel

c/o Burns and Harris

233 Broadway, Ste. 900

New York, NY 10279*0999 Suite 445

Douglas Arevalo

c/o Harold Chetrick P.C.
60 East 42nd Street

New York, NY 10165~0443

Esma Elberg

c/o Robert W. Piken

Piken & Piken

630 Third Ave., 23rd Eloor
New York, New York 10017-6731

Jacob Elberg

c/o Abrams, Fensterman, Fensterman, Eism
630 Third Avenue, Fifth Floor

New York, New York 10017

Jarub Trans. Corp

c/o Abrams, Fensterman, Fensterman, Eism
630 Third Avenue, Fifth Floor

New York, New York 10017

Karl DeVoc

c/oBarasch McGarry
Salzman & Penson

11 Park Place Ste 1801
New York, NY 10007~2811

Marc Augstin

c/o Krentsel & Guzman

17 Battery Place, Ste 604
New York, NY 10004-1135

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Office of the United States Trustee
Eastern District of NY (Brooklyn Office)
U.S. Federal Office Building

201 Varick Street, Suite 1006

New York, NY 10014-9449

Progressive lnsurance Co

c/o Feldman & Feldman, LLP

Attn: Jodi P. Feldman, Esq.

811 West Jericho Turnpike, Ste 201W
Smithtown, New York 11787-3227

Ruben Elberg
1523 President Street
Brooklyn, NY 11213-4542

Ruben Elberg

c/o Abrams, Fensterman, Fensterman, Eism
630 Third Avenue, Fifth Floor

New York, New York 10017. 10017-6705

Esma Elberg
1281 Carrol Street
Brooklyn, NY 11213~4207

Jack Margossian
301 Fieldstone Terrace
Wyckoff, NJ 07481-3503

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US BANKRUPTCY COURT

EASTERN D:sTRICT oF NEW YORK 17“46613~NHL
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IN RE: AFFIRMATION
BRACHA cAB coRP., ET. AL. CHAPTER 7

“““““““““““““““““““““““““““““““““““ X HoN. NANCY HERSHEY
LoRD

FRANCESCO POMARA, JR., ESQ., an attorney duly admitted
to practice law before the Courts of the Eastern District of New
York, hereby affirms the truth of the following under the
penalties of perjury:

l. 1 am an attorney associated with the law office of
MALLILO & GROSSMAN, the attorneys of record for RONALD JEAN PIERRE
in the above captioned matter, and as such l am fully familiar
with the facts and circumstances hereinafter contained, the source
of my knowledge being the file H@intained by my office in the
course of handling this matter.

2. l am submitting this application in support of the
instant motion which seeks relief from the automatic stay imposed
upon RONALD JEAN PIERRE's personal injury action currently pending
against LECHAIM CAB, CORP. in Supreme Court, Queens County under
index number 707861/15. Lechainl Cab Corp. is a debtor whose
bankruptcy is being jointly administered with those of Bracha Cab
Corp. et. al. via court order of January 19, 2018 of this
honorable Court and is annexed hereto as Exhibit “A”.

3. Said incident arises out of a motor vehicle

accident which occurred on April l, 2015 whereupon Mr. Jean Pierre

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was caused to sustain serious personal injuries. Annexed hereto
as Exhibit “B” is a copy of the police report in regard to said
matter. Annexed hereto as Exhibit “C” is a copy of the Summons
and Complaint and Verified Answer interposed by defense counsel
for LECHAIM CAB, CORP.. Annexed hereto as Exhibit “D” is the
response to the Preliminary Conference Order for the matter
pending in Supreme Court, Queens County wherein defense counsel
for LECHAIM CAB, CORP. represents that they are covered. by a
policy of insurance with American Transit lnsurance Company with
policy limits of $100,000.00/$300,000.00 under policy number
Alll46l.

4. As there is applicable insurance for the motor
vehicle accident, it is respectfully requested that an order be
issued lifting the stay imposed on the personal injury matter and
allow same to proceed as against the limit of the insurance policy
proceeds.

5. 11 U.S.C. §362(a) provides for relief from, the
automatic stay offered by the bankruptcy code “for cause”. The
Bankruptcy Act commits the decision of whether to lift the
automatic stay to the discretion of the bankruptcy judge. ln re
Frigitemp Corp., 8 B.R. 284(SDNY 1981). Several Federal Courts
have relied on section 326(d) in vacating an automatic stay so
that a pending Civil action could go forward. ln the matter of
Holtkamp, 669 F.2d 505 VFh Circuit 1982), the Court of Appeals
affirmed an order of` the bankruptcy court which lifted the
automatic stay. The Court of Appeals held that the lifting of the

automatic stay, which allowed the Civil action for damages for

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personal injury to proceed to trial, was proper because the civil
action did not jeopardize the debtor's bankruptcy estate. The
Court of Appeals also found that the Public Interest in Judicial
Economy weighed in favor of permitting this suit to go forward.
ln the matter of Holtkamp the Court of Appeals rejected the
debtor's contention that by permitting the trial to proceed, the
bankruptcy court enabled the personal injury plaintiffs to gain a
superior position over other creditors. As in Holtkamp the same
is not applicable in the instant matter as defendant is covered by
a policy of insurance which plaintiff has agrees to be limited to
for any monetary recovery in the pending personal injury action.

6. The instant Order will not in any way affect or
prejudice the rights of the Debtor as your affirmant's office will
stipulate not to proceed against said Debtor individually but only
against the limits of the insurance policy through litigation in
the Supreme Court, Queens County.

7. lt is respectfully submitted that the automatic
stay be modified to allow the Supreme Court action to continue on
its merits, wherein it is agreed that any recovery would not
exceed the limits of the liability insurance policy issued. by
AMERICAN TRANSIT INSURANCE COMPANY.

8. No prior application for the relief requested

herein has been made to this or any other court.

 

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WHEREFORE, it is respectfully requested that this court
lift the automatic stay imposed in this matter, together with any
and all further relief the Court deems just and equitable.

Dated: Flushing, New York .

March 6, 2018 /
////Z¢:r;// C;~__~w/

FRANCESCO POMARA, JR., ESQ. (FP 0807)

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US BANKRUPTCY COURT

EASTERN DISTRICT or NEw YoRK 17'46613“NHL
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iN RE: , Q§Q§§
BRACHA cAB coRP , ET. AL. CHAPTER 11

________________________________________ X HoN. NANCY HERSHEY
LoRD

UPON the Application of RGNALD JEAN PIERRE, by his
attorneys, MALLILO & GROSSMAN, seeking an order, pursuant to 11
U.S.C. 362(a) and (d), granting relief and/or modification from
the automatic stay, and allowing unsecured creditor, RONALD JEAN
PIERRE, his successors and assigns, to pursue his statutory
remedies, with respect to his personal injury action, against the
insurance policy of the Debtor, upon the Affidavit of Service duly
filed, and a hearing having been held before the Honorable Nancy
Hershey Lord, Bankruptcy Judge, on April 12, 2018, and RONALD JEAN
PIERRE, in support thereof, and no one having submitted papers or
appeared in opposition thereto, and. sufficient cause appearing
therefore; it is

ORDERED, that RGNALD JEAN PIERRE, is hereby granted
relief from the automatic stay to pursue his claim against
AMERICAN TRANSIT FARM INSURANCE COMPANY, the insurance company of

the Debtor; and it is further

 

 

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ORDERED, that the subject action will not, in any way,
affect the individual rights of the Debtor.

Dated: Flushing, New Y_ork
March 6, 2018 `

 

HON. NANCY HERSHEY LORD
US BANKRUPTCY JUDGE

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EXHIBIT A

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Case 1-17-46613-nh| DOC 16 Filed 01/19/18 Entered 01/19/18 14229209

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

 

 

 

 

 

 

 

 

x
In rel
Bracha Cab Corp.,
Debtor.
x
In re:
Dovber Cab Colp.,
Debtor.
x
In re;
Tamar Cab Corp.,
Debtor.
X
ln re:
NY Genesis Taxi Corp,
Debtor.
x
In re:
Dabri Trans Corp.,
Debtor.
x
In re:
Merab Cab Coip.,
Debtor.
X
In re:
Fit Taxi Corp.,
Debtor.
x
ln re:

lamb Trans Corp.,

Debtor.

 

Chapter 11
Case No. 17-46613-nhl

Chapter 11
Case No. 17-46614-nhl

Chapter 11
Case NO. 17-46616-nh1

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Case NO. l7-46617-nh1

Chapter 11
Case NO. 17-46618-nh1

Chapter 11
Case No. 17-46619-11111

Chapter 11
Case No. 17~46620~nh1

Chapter 11
Case No. 17~46639-11111

Case 1-17-46613-nh|
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In ret
Sornyash Taxi Corp., Chapter 11

Debtor. Case No. 17-46640-nh1
In re: X
NY Tint Taxi Corp., Chapter 11

Debtor. Case No. 17-46641-11111
In re: X
NY Stance Taxi Corp., Chapter 11

Debtor. Case No. 17-46642-nh1
In re: X
NY Canteen Taxi Corp., Chapter 11

Debtor. Case No. 17-46644-nhl
In re: X
NY Energy Taxi Colp., Chapter 11

Debtor. Case No. 17-46645-nh1
In rec X
Jackhel Cab Colp., Chapter 11

Debtor. Case No. 17-46646-nhl
In rel X
Lechaim Cab Corp., Chapter ll

Debtor. Case No. 17-46647-nhl

x

ORDER DIRECTING JOINT ADMINISTRATION
()F RELATED CHAPTER 11 CASES

Upon the motions (the “Motions”) of the above-captioned Debtors for entry of an order

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CaSe 1-17-46613-nh| DOC 16 Filed 01/19/18 Entered 01/19/18 14229:09

pursuant to section 101(2) of the Bankiuptcy Code and Bankluptcy Rule 1015(b) directing the
joint administration of the Debtors’ related chapter 11 cases, all as more fully described in the
Motions; and the Court having jurisdiction to consider the Motions and the relief requested
therein in accordance with 28 U.S.C. §§ 157 and 1334; and consideration of the Motions and the
relief requested therein being a core proceeding pursuant to 28 U.S.C. § 157(b)(2); and venue
being proper in this District pursuant to 28 U.S.C. § 1408; and due and proper notice of the
Motions being adequate and appropriate under the particular circumstances ; and a hearing having
been held to consider the relief requested in the Motions (the “Hearing”); and the record of the
Hearing; and the Court having found and determined that the relief sought in the Motions is in the
best interests of the Debtors’ estates, their creditors, and other parties in interest, and that the legal
and factual basis set forth in the Motions establish just cause for the relief granted herein; and no
opposition to the relief requested in the Motions having been interposed; and after due
deliberation and sufficient cause appearing therefor, it is hereby

()RDERED, that the Motions are granted as set forth herein; and it is further

ORDERED, that the above~captioned chapter ll cases are consolidated for procedural
purposes only and shall be jointly administered by this Court under Case No. 17-46613~nhl; and it

is further

[The Order continues 011 the following page ]

Case 1-17-46613-nh| DOC 45 Filed 03/12/18 Entered 03/12/18 15:56:12
Case 1-17-46613~nh| Doc 16 Fiied 01/19/18 Entered 01/19/18 14:29:09

ORDERED, that the consolidated caption of the jointly administered cases should read as

follows :

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

 

Chapter ll
In rec

Case No. 1-17-46613-11111
Bracha Cab Corp., et al.,

Jointly Admim'stered
Debtors.

 

 

 

and it is further
ORDERED, that an entry shall be made on the docket of each of the Debtors’ cases that
is substantially similar to the following:
An order has been entered in accordance With Rule 1015(b) of the Federal Rules of
Banl<ruptcy Procedure directing the joint administration of the chapter 11 cases of
Bracha Cab Corp., Dovber Cab Corp., Dabri Trans Corp., Merab Cab Corp., Fit Taxi
Corp., Jarub Trans Corp., Somyash Taxi Corp., NY Canteen Taxi Corp., Lechaim
Cab Corp., Tamar Cab Corp., NY Genesis Taxi Corp., NY Tint Taxi Corp., NY
Stance Taxi Corp., NY Energy Taxi Corp., and Jackhel Cab Corp. All further
pleadings and other papers shall be flled in, and all further docket entries shall be
made in, Case No. 17~46613-11111;
and it is further
ORDERED, that one consolidated docket, one flle, and one consolidated service list
shall be maintained by Bracha Cab Corp., and kept by the Clerl< of the United States Bankiuptcy
Court for the Eastern District of New York; and it is further
ORDERED, that the terms and conditions of this Order shall be immediately effective
and enforceable upon its entiy; and it is further
ORDERED, that the Debtors are authorized to take all actions necessary to effectuate the

relief granted pursuant to this Order in accordance With the Motion; and it is further

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CaSe 1~17-46613-nh| DOC 16 Filed 01/19/18 Entered 01/19/18 14:29309

ORDERED, that the Debtors Will each file a separate monthly operating report; and it is

further
ORDERED, that this Court retains jurisdiction With respect to all matters arising from or

related to the implementation of this Order.

7a W%€/

Nilincy Hershéy Lord
United States Bankruptcy Judge

Dated: January 19, 2018
Brooklyn, New York

 

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EXHIBIT B

CaSe 1-17-46613-nh| DOC 45 Filed 03/12/18 Entei’ed 03/12/18 15256:12

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

   

 

  

 

     

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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DUPLiCATE COPY REQU!RED FOR:

L_.i Dept. of i\/lotor Vehlcies
(ll anyone le killed/ln]_ured)

i:] l\/iotor Transport Divislon
(P,D. vehicle invoived)

ij Personnel Safety Unlt

l:i Office of Comptroller
(lf a P.D. vehicle involved)

(if a Clty vehicle involved)

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§ NYC Taxl & leouslne Comrn. [] Other City Agency
(lf a Licensed taxi or limousine (Speoify)
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i:i l-lighway Unit

 

NOT|F|CAT|ONS: (Enter neme,~aoldress, and,re|iatlonehlp of friend or relative notified. if ideci person is unidentified, list Misslng i=‘_erson Squad member who

we tilled. in either case. give date and time of notification.)

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Aesl§v§To What Command

 

 

 

 

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ij Siren i:i i-lorn

ACTiONS OF POL'\CE VEH\CLE

L_.] Turr§>{§ht l:] A~Way Flesher

ij Respondlng to Code Signai
i:i Pursuing Violator

 

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Ei nign-Levei warning Lignie

i:] Comply|ng with Station House Directive
i;i'Rouiine Petrol ~ .,

 

 

 

 

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CaSe 1-17-46613-nh| DOC 45 Filed 03/12/18 Entered 03/12/18 15256212

EXHIBIT C

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~ [FILED: QUEENS coUNTY cLERK 07/24/2015 04;10 PM] INDEX NO- 707861/2015
NYSCEF DOC. NO. 1 RECEIVED NYSCEE`: 07/24/2015

SUPREl\/IE COURT OF THE ST/-\TE OF NEW YORl<_
SUPREl\/IE COURT‘. QUEENS COUN'I`Y
----~-~----~~~-~~~~---~~»~»“~~~~~~~~~~-~~~-~~~- ------------------------------- X IndexNo.‘.

RON/-\I_,D JEAN PlERRE
Date Purchased:`

SUMM ONS

Plaintiff(s),
' The basis of venue
~against- im
Plaintiff‘s Rcsitlence

LECHAIi\/l CAB C.ORP AND MD J. HOSSAIN,
Plaintiff resides

utz
Defendanttsi 240-16 izsth R@ml

""""""""""""""""""""""""""""""""""""""""""""""""""""""""""" X Rosedalc, NY 11422
County of Qneens
TO TI-IE ABGVE NAI\/IED DEFENDAN"[`(S):

YOU ARE HEREBY SUMMONED to appear in this action hy serving a notice of
appearance on plaintifi‘s attomeys within 20 days after Service of this Summons, exclusive ol` the
clay of service, or within 30 days after service is complete if this summons is not personally
delivered to you within the Statc of New Yorl<. In case of your f ailure to answer, .lucigment \-vill be
taken against you by default for the relief demanded in the Complaint

DATBD: Queens. New York
July 2, 2015
D/A: AprilOl,ZOlS

Yours, etc.,
MALLILO & GROSSMAN, ESQS.

l/lZ/C/\Nllm C(L\O (,O(Q Attomey forPlaintiff(s)

163~09 Northern Boulevard

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SUPREME COUR"l GF THE S'l`ATE OF NEW YORK
SUPRFME COURT: QUBI;N‘§ COUNTY

RONALD lFAi\i PlEl{RE
_V_E_&LELED C Ol_\/l_PLAlT_\l_T
Pl ` t`t`i`
am l (S)’ lndex No.:
-against-

L,ECHAli\/i CAB CORP AND Ml) J. HOSSAIN,

Deferrdarrt(s).
..................................................................................... X

Plaintiff, RONALD J`EAN PIERRE, by his attorneys, MALLII.,O & GROSSl\/IAN,v ESQS,

complaining of the defendants herein, respectfully show to the Court and allege:
{_\.S AND \"t)l< A FIRSTHCAUSE OF /\t'_"l`lt.')t\_‘

]. That this plaintift`, RONALD .lEAN PIERRE, was and still is a resident ofthc Connty of
Queens, City and State ofNew Yorl<.
2. That dci"endant, LECHAIM CAB, CORi’., was and still is a resident oi" the County oFNew
York, City and State of New Yorl<,
3. That defendant, l\/lD J. HOSSAIN, was and still is a resident of the County of Queens, City
and State ofNew Yorl<.
4. Upon information and l)eliei`, and at all times hereinaiier mentioned, the defendant,
LECHAIl\/l CAB CORP., was and still is a domestic corporation duly organized and existing by
virtue of the laws oi` the State of New Yor'l<,
5. Upon information and belief, and at all times hereinafter mentioned the defendant,
LECHAIM CAB CORP., was and still rs a foreign corporation doing business in the State oi

New Yorl<.

6. Upon information and beliet`, and at all times hereinafter mentioned, the defendant,
LECHAII\/I CAB CORP., was and still is a sole proprietorship doing business in the State ofNew

Yorl<,

7. Upon information and belief and at all times hereinafter mentioned the defendant,
LECHAIl\/l CAB CORP. was and still rs an unincorporated association doing business in the

State of New Yorl<.

 

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8. That at all times hereinafter mentioned, a certain motor vehicle bearing registration number
T635921C, 2013 Gi\/lC, in the State ofNew Yorl< was owned by plaintiff, RONALD .lEAN
PlPlRl{E.

9. That at all times hereinafter mentioned, a certain motor vehicle bearing registration number
'1`635921C, 2013 Gl\/IC, in the Statc ofNew Yorl< was operated by the plainti.t`f, RONALD JEAN
PIERRE.

lO. Upon information and belief that at all times hereinafter mcntioned, a certain motor vehicle
bearing registration number lK66B, 20l l Ford, in the State of New Yorl< was owned by the
defendant, LECHAIi\/I CAB CORP.

l l. Upon information and belief that at all times hereinafter mentioned, a certain motor vehicle
bearing registration number lK66B, 201 l Ford, in the 'State ofNew Yorl< was operated by the
defendant, l\/ID .l. HOSSAIN.

12, Upon information and belief that at all times hereinafter mentioned, on E 615‘ Street between
3rel Avenue & liexington Avenue, in the County of New Yorl<, City and State ol`New Yor'l<, were
and still are public thoroughfares located in said County of New Yorl<, State ol`Ncw Yorl<.

13. 'l` hat on Apr'il Ol, 2015 the aforesaid motor vehicle ofthe defendant was in contact with the
motor vehicle operated by the plaintiff, RONALD JE/-\N PIERRE.

l4. 'l`hat said contact tool< place on 61Sl Street between 3rd Avenue & Lexington Avenue in the
County of New York, City and State ofNew York.

15. That the aforesaid collision occurred without any fault or negligence on the part of the
plaintiffs contributing thereto and was caused solely and wholly by the defendants negligence

l6. That the defendants were negligent in the operation, maintenance, management and control
oftheir motor vehicle, in causing, permitting and allowing it to come in contact with the plaintiffs
vehicle;` in failing to give due and proper warning ot` the movements of their said motor vehicle in
order to avoid the accident; in operating their motor vehicle at an excessive rate of speed; in failing
to keep a proper lookout upon the highway; and in so operating the said motor vehicle as to cause

the same to come into contact, in violation of the statutes, ordinances and regulations in such cases

made and providedl

 

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17. 'l`hat as a result ofthe foregoing contact the plaintiff RONALD .lE/\N PIERRE, was caused
to be injured
18. That as a result of the foregoing, the plaintiff, RON/-\LD JEAN PlERRE, was caused to
suffer a "serious injury" as that term is defined in subdivision 4 ofSect.ion 5102 of the lnsurance
Law of the State of New Yorl<, and being a covered person and claiming against a covered person,
is entitled to recover for noneconomic loss, including pain, suffering and disfigurement and is
entitled to recover for such economic loss as exceeds basic eeonomic,
l9. 'l`hat by reason of the premises and wrongful acts and omissions on the part of the defendants
as aforesaid, the plaintiff, RONALD JEAN PIERRE, has suffered and will continue to suffer, pain
and agony in mind and body and were unable to attend to his duties, all to his damage in the sum
which exceeds the jurisdictional limits of all lower court, which would otherwise havejurisdiction.
A§'_/§_l§i_[llft,)R '/\ Sl",t`t)i\il) CAUSE OF ACTIQL\'.
20. This plaintiff, RONALD JEAN PIERRE, r‘epeats, reiterates, and realleges each and every
allegation contained in all preceding paragraphs, inclusive with the same force and effect as if fully
set forth herein at length.
21. That as a result of all the foregoing, the plaintiffs 20l`3 GMC was damaged in the sum which
exceeds the jurisdictional limits of all lower courts which would otherwise have jurisdiction
WHEREFORE, the plaintiff demands judgment against the defendants in the first
cause ofaction and the amount of damages sought exceeds thejurisdictional limits of all lower
courts which would otherwise havc_iurisdiction, and plaintiff demandsjudgment against the
defendants in the second cause of action and the amount of damages exceeds thcjurisdictional
limits of all lower courts Which would otherwise have jurisdiction, together with the costs and

disbursements of this action.

DATED: Queens, New Yorl<
.luly 2, 2015 MALLI.I,O & GROSSl\/l/-\.N

Attorney for Plaintiffs
l63~09 Northern Blvd.
Flushing_. Nevv Yorl<
(718`) 461~6633
l500213

 

 

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sTATE oF NEW YoRK )
) SS. :
COUNTY orr QUEENS )

I, RONALD JEAN PIERRE, BEING DULY
SWORN DEPOSES AND SAYS:

THAT I AM THE PLAINTIFF IN THE WITHIN ACTION.

THAT I HAVE READ THE FOREGOING COMPLAINT AND KNOW THE
CONTENTS THEREOF; THE SAME IS TRUE AND TO MY OWN KNOWLEDGE, EXCEPT
AS TO THE MATTERS HEREIN STATED TO AS ALLEGED ON INFORMATION AND

BELIEF, AND AS TO THOSE MATTERS I BELIEVE IT TO BE TRUE.

RONALD JEAN Prsahs .

swoRN To BsFoRs ME THIs
DAY oF<S\> , 2015

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OUR Pll,E# 1500213

lndex No.
SUPREME COURT GF THE STATE OF NEW YORK
SUPREME COURT; QUEENS COUNTY

RoNALDJEANiaERRE
Plaintiff(s),
~against-
LECHAIl\/I CAB CORP AND MD J. HOSSAIN,

Defendant(s).

SUlVliVlONS AND VERIFIED COMPLAINT

 

MALLILO & GROSSIVIAN, ESQS.
Allorneys for Plaintiff(s)
163-09 Northern Boulevard
Flushing, New Yerk 11358
(718) 461-6633
Fax;(718)461-1062
Pursuant to 22 N'Y'CRR l30~l.lA, the undersigned, an attorney admitted to practice in
the courts of New Yorl< State, certifies that, upon information and belief and reasonable
inquiry, (l) the contentions contained in the annexed document are not frivolous and that
(2) if the annexed document is an initiating pleading, (i) the matter was not obtained
through illegal conduct, or that if it was, the attorney or other persons responsible for the
illegal conduct are not participating in the mut dr or sharing in any fec earned therefrom .,
and that (ii) if the matter involves potential et'finr for personal injury or wrongful death,,,..~"
the matter was not obtained in violation of22 Y(`l`tR 1200.41 *a.

    
 

Dated:
Si_gnature
l/JAC < onossrv m\‘, EsQ.

TO: l/"'

 

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(FILEp: QtJEENS coUNTY cLERK 08/21/2015 08:30 AM] INDEX NO- 707861/2015
NYSCEF DOC. NO. 5 RECEIVED NYSCEF; 08/21/2015

SUPREME COURT OF THE STATE OF NEW YORK
CCUNTY OF QUEENS

 

 

X lNDEX NO.: 707861/1 .
w
RONALD JEAN PIERRE,
/5"0 o )// 3
Plalntiff(s), vERlFiED ANswER thH
DEMAND FOR BILL OF PART|CULARS
-against -

CASE |D: 77695

OUR F|LE NO.: 906938
LECHA|M CAB CORP. and MD J. HOSSAIN, YOUR FlLE NO.¥

Defendant(s).

 

~~-~X
Sirs/Niadams:

The Defendant(s), LECHA|M CAB CORP. and MD J. HOSSAiN, by attorneys, BAKER, MCEVOY,
MORR|SSEY & MOSKOV|TS, P.C. answering the Complaint of the Piaintiff(s) herein, respectfully
allege(s) upon information and bellef, as follows:

ANSWER|NG THE ALLEGED FlR§T CAUSE OF ACT|ON

Upon information and beiief, denies each and every allegation in the paragraphs of the Complaint
designated as foliows: 5, 15, 16, 17, 18, 19.

Denles any knowledge or information thereof, sufficient to form a belief as to the truth of the
allegations contained in the paragraphs of the Complaint designated as foliows: 1, 2, 3, 6, 7, 8, 9.

ANSWER|NG THE ALLEGED SECOND CAUSE OF ACTlON

Answering paragraph §§ of the Complaint, repeats, reiterates and realleges each and every
aliegat|on, admission and denial contained in the preceding paragraphs of this Answer, with the same
force and effect as though here again set forth at iength.

Upon information and belief, denies each and every allegation in the paragraphs of the Complaint
designated as follows: 21.

FiRST AFF|RMAT|VE DEFENSE
t That the Court Lacl<s Personai Jurisdiction over the answering Defendant(s) in that the Surnmons
and Complaint was not served upon the Defendant(s), and if the Summons was served, it_was not
effected in accordance with the applicable provisions of Article 3 of the CPLR, said provisions governing
the service of process. '

SECOND AFF|RMAT|VE DEFENSE
That by reason of all of the provisions of Article 51 cf the New York Comprehensive
Motor Vehlcie insurance Reparations Act, Sectlons 5101 to 5108, this Court lacks jurisdiction over the
subject matter cf this action and Plaintiff(s) is expressly prohibited by the above mentioned law from
maintaining this action.

 

 

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TH|RD AFF|RMAT|VE DEFENSE

 

Pursuant to the C.P.L.R. Sections 1411 and 1412l any damages sustained by the P|aintlff(s) were
caused by the culpable conduct of the Plaintiff(s), including comparative negligence or assumption of the
rlsl<, and not by the culpable conduct or negligence of the answering Defendant(s).

FOURTH AFF|RMAT|VE DEFENSE

Pursuant to C.P.L.R. 4545, P|a|ntlff's recovery should be reduced by any amounts received or to
be received by Pia|ntiff(s) from collateral sources of paymentl

FlFTH AFF|RMAT|VE DEFENSE

 

That if the Pia|ntiff(s) suffered injury and damage in the manner and at the time and place alleged
in the complaint which this Defendant(s) denies / deny and if it be determined that said injury and
damage were caused and contributed to by reason of the P|alntiff‘s failure to use or properly use seat
belts. shoulder harness (es) or other restraining devices, pursuant to the authority of SPlER V. BARKER,
35 N.V.2d 444, 363 N.V.S.Zd 916, Defendant(s) hereby pleads said failure in mitigation of damages

SlXTH AFF|RMAT|VE DEFENSE

 

That if |t be determined hereafter that Piaintiff(s) or any party to this lawsuit has proceeded to
arbitration with respect to any issue relevant to this action which results in an adverse ruling to said
Plaintiff(s) or party, then and in that event, the answering Defendant(s) hereby pleads said adverse ruling
or award on the theory of collateral estoppel under the authority of MA TTER 0F AMERlCAN
INSQRANCE CO. (MESSENGER-AETNA CAS. & SUR. CO.£, 43 N.Y.2d 184, 401 N.¥.S.ch 36;
ALTMAN v. QUEENS TR. CORP.. 94 Nlisc.2d 549, 405 N.Y.S.2d 212; DERMATOSSIAN v. NEW YORK
CITY TRANSITAUTHCRITY, 67 N.Y.Zd 219, 501 N.Y.S.2d 784; c.f. BALDWIN v. BROOKS, 83 A.D.Zd
85, 443 N.Y.S.Zd 906; CLEMMENS v. APPLE, 65 N.V.Zd 746 and SCHULTZ v. BOYSCOUTS OF
AMERlCA, 65 N.Y.2d 189.

SEVENTl~l AFF|RMAT|VE DEFENS§

That Defendant-operatcr acted under emergency conditions not created by him/her and which qualify
lunder the ”emergency doctrine.” Such doctrine holds that those faced with a sudden and unexpected circumstance, not
of their own making, which leaves them with little or no time for reflection or reasonably causes them to be so disturbed
that they are compelled to make a quick decision without weighing alternative courses of conduct, may not be negligent if
their actions are reasonable and prudent in the context ofthe emergency, even if it later appears that the actor made a
wrong declslon, provided the actor has not created the emergency. Beilo v, Transit Auth., 12 A.D,3d 58, 60 (2'“1 Dept.
2004); Carlsto v, Sanzone, 96 N.Y.Zd 172, 174 (2001); Rivera v. New Vork City Tr. Agth., 77 N.Y.2d 322, 327 (1991); Kuci v.
[l_/l_anhattan & B[onx Surface Tr. Opgratlng Agtb., 88 N.Y.Zd 923 (1996); Pawluhleyi_/lcz v. liols§ogl 275 A.D.Zd 446 (2"d
Dept. 2000); Carmela Rovlello v. Schoolman Transportation Systernl |nc.l 10 A.D. 3d 356 (2“d Dept. 2004).

 

 

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W H E R E F 0 R E, the answering Defendant(s) demand(s) judgment dismissing the Complaint of
the Plaintlff(s) hereln, together with the costs and disburseme t of this action.

 

Dated: eRooKLYN, NY
Aueusr 20, 2015
RoNiT .Mo o ,esd,méss-aosesa/cs
BAKE , MoRRissEY & Mosi<ovirs, P.c.

` Attorneys for Defendant(s)
LECHA|M CAB CORP. and MD J. HOSSA|N
ONE METROTECH CENTER, STH FL.
BROOKLYN, NY 1120‘\
TEL: (212) ssr-ezeo/FA)<;(ztz) 857-8238

To: sEE RioER.

FILE NO. 906938

 

CaSe 1-17-46613-nh| DOC 45 Filed 03/12/18 Entei’ed 03/12/18 15256212

AFF|RMAT|ON

STATE OF NEW YORK, COUNTY OF KlNGS) Ss.:

'RON|T Z. MOSKOV|TS, an attorney at law, hereby affirms pursuant to the C.P.L.R. and
subscribing as true under the penalties of perjury, as follows:

That the Affirmant is associated with firm of BAKER, lV|cEVOY, MORR|SSEY & MOSKOV|TS, P.C,,
attorneys cf record for the Defendant(s) in the above entitled action.

That the Affirmant has read the foregoing VERiFiED ANSWER WiTH DEMAND FOR BlLL OF
PART|CULARS, NOTiCE FOR DlSCOVERY AND lNSPECTlON ARTICLE 31 C.P.LR., NOTiCE
PURSUANT TO C.P.L.R. 2103 (e), DEMAND FOR AUTHOR|ZAT|ONS TO OBTA|N MED|CAL
lNFORMATlON AND DEMAND FOR PHYS|CAL EXAMINAT|ON, DEMAND FOR PHYS|CAL
EXAMiNATiON AND MED|CAL REPORTS, COMBiNED DEMANDS, NOT|CE DECL|N|NG SERV|CE BY
FAX TRANSMlTTALS, NOTiCE FOR iNSURANCE lNFORMAT|ON, and DEMAND FOR
MED|CARE/MEDICA|D lNFORMATIONand knows the contents thereof; that same is true to her own
knowledge, except as to the matters therein stated to be alleged upon information and belief, and as to
those matters, she believes them to be true.

This Verification is made by Afflrmant and not by the Defendant(s) because said Defendant(s)
were not within the County in which the firm of BAKER, McEVOY, MGRRlSSEY & MOSKOVlTS, P.C.
maintain their offices for the practice of law when this VERiFiED ANSWER WiTH DEMAND FOR BlLL
OF FART|CULARS, NOT|CE FOR DlSCOVERY AND iNSPECT|ON ART|CLE 31 C.P.LR., NOTiCE
PURSUANT TO C.F.L.R. 2103 (e), DEMAND FOR AUTHOR|ZAT|ONS TC OBTA|N MED|CAL
iNFORMAT|ON AND DEMAND FOR FHYSiCAL EXAMlNATION,,DEMAND FOR PHYS|CAL
EXAM|NAT|ON AND MED|CAL REPORTS, COMBiNED DEMANDS, NOTiCE DECLlNiNG SERV|CE BY
FAX TRANSMlTTALS, NOTiCE FOR lNSURANCE iNFORMATlON, and DEMAND FOR
MED|CARE/MED|CAiD iNFORMATlONwas drafted

The grounds of Affirmant's belief as to all matters not stated upon her knowledge are as follows:

BOOKS AND RECORDS MA|NTA|NED BY THE FlRM OF
BAKER, MCEVOY, MORRlSSEY & MOSKOV|TS, P.C.
AND lNFORMATlON SUPPL|ED BY
AMERlCAN TRANS|T INSURANCE COMPANY.

oATEo AFF|RMED: BRooki_YN, NY
Aueusr 20, 2015 j

R ir z. o oytrsl,zso. /116§€.906938/<:3

TO: MALL|LO & GROSSMAN, ESQS.
A!lorney(S) for the Pla/'ni/ff(e)
RONALD JEAN P|ERRE
163-09 NORTHERN BOULEVARD
FLUSH|NG, NY11358
TELEPHONE: (718) 461'6633

,FILE NO. 906938

 

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l r

EXHIBIT D

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BAKER, lV|cEVOY, l\/lORRlSSEY & l\/lOSKOVlTS, P.C.

ATTORNEYS /-\T LA\/V
steven J. BAKER one iviErRorEcn cENTER
ioHN P, Mci:vor BROOKLYN, NY 11201-3948
cotth F. ivioliaissEY t TELEPHONE (212) 857-8230

RON|T Z. MOSKOV|TS
January 27, 2016

l\/lALLlLO & GROSSMAN, ESQS.
163-09 NORTHERN BL\/D.
FLUSHING,'NY11358

Re: RONALD P|ERRE v. LECHAIiVi CAB CORP., ET A|=
Case iD No.: 77695

File Number: 906938

index Number: 707861/2015E

D/O/l_: APR|L1_, 2015

Dear Counse|or:

Defendant(s), LECHAIiVi CAB CORP. and lVlD J. HOSSAlN, submit the
following as their response to the PREL||Vi|NARY CONFERENCE ORDER dated
JANUARY 5, 2016 and COlVlBiNED DEMANDS FOR DlSCOVERY AND
iNSPECT|ON dated SEPTEN|BER 15, 2015:

1. NAlViES AND ADDRESSES OF WiTNESSES: Defendants are
unaware of any witnesses other than those that may be listed on the
police report

2. OPPOS|NG PARTiES’\ STATElVlENTS: Copy of Piaintiff’s Form Five is
annexed

3. REPA|R BlLLS: D,efendants’ attorneys are not in possession of these
records; however, relevant inquiries are being made thereto

4. LEGAL ACTIONS: Defendants are unaware of any other matter other
than the'within matter.

5. TESTIlVlONY: None.
6. V|OLAT|ONS: None.
7. LEASES: Defendants’ attorneys are not in possession of these

records; however, relevant inquiries are being made thereto

8. NiAlNTENANCE AGREENIENTS: This is an improper demand

G:\QO’siQOGQ$S\PC'/?ESP,OA,o'oo

 

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RE: P|ERRE v. LECHA|M CAB PAGE 2
OUR F|LE NO.: 906938 JAN 27, 2016
9. ViDEOS, SURVElLLANCE l'lIlATERiALS, OUT-TAKESJ

'iO.

11.

12,

13.

14.

'l’.:').

'l6.

17.

 

PHOTOGRAPHS, ET AL: Copies of photographs in Defendants’
possession are annexed.

iNSURANCE COVERAG`E: insurance coverage is provided by
American Transit insurance Company. A copy of insurance information is
annexed.

There is no additionai, excessive and/or umbrella coverage at the time of
the accident as to Defendant, Lechaim Cab Corp. Copy of an Affidavit
stating the same is attached hereto Relevant inquiries are being made as
to Defendant, i\/lD J. Hossain.

EXPERT WiTNESS: Defendants, at this time, have not retained any
expert witnessl if and when such witnesses are retained Piaintiff will be
notified as soon as possible.

iNSPECT|ON, lVlAiNTENANCE AND/DR REPA|R RECORDS: This is
an improper demand

VEHlCLE N|AINTENANCE AND REPAiR RECORDS: This is an
improper demand

CONTRACTS: This is an improper demand

DEFENDANTS’ ADDRESSES: Upon information and belief, the
following are Defendants’ last known addresses:

Lechaim Cab Corp. 518 W. 44th St., New York, NY 10036
iViD J. Hossain 167-06 Highiand Ave., Jamaica, NY 11432
PR|OR CLA|N|S OR LAWSU|TS: Defendants object to this demand

 

as being overly broad, vague,'vexatious, failing to specify that which lt
seeks to produce, failing to be limited in time scope or duration, and
otherwise as improper and unanswerable.

ACCiDENTllNCiDENT REPORTS: Defendants, at this time, are not
in possession of any reports other than the Po|ice Report, copy of which is
attached hereto. As to the demand for incident report, Defendants are not
in possession of any other than Defendant operator’s i\/l\/-104, which is a
matter of public record

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RE: P|ERRE v. LECHA|M CAB PAGE 3
GUR FlLE NO.: 906938 JAN 27, 2016

Defendants reserve the right to supply and/or amend any of the above if
and When additional information becomes available.

Yours, tc., y
BAKER, i\/l OY, MORR|SSEY

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Enc.

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Case 1- - - `
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04/15/2015

JEAN PIERRE RONALD
240~16 128TH ROAD
RJSEDALE, NY 11422

RE! Clail'i'\a‘n\li JEAN PIERRE, RONALD ‘ l l w y v . v
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OUL‘ Claim NO.:
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Place of Accident: NYc/m. elam sm sam san Avs a max Av

e have just been advised of this unfortunate incident and ask your cooperation in
rdez: that we may promptly investigate and adjust it.

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e shall contact you promptly upon receipt thereof,

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9, If anyone in vehicle was injured,
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Case 1-17-46613-nh|

 

 

   

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518 WEST 44 S'I`
NEW YORK, NY 1003()

 

 

 

 

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' OWNER’S LlABiLiTY COVERAGE
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Re: RONALD JEAN P|ERRE v LECHA|M CAB CORP. and NiD J. HOSSA|N;
Daie of Accident: 04101/2015
Case id. 77695
Our File No: 906938
Policy Limits: 1001300/20/ Policy Nurnber: MPA'i'i'i46'i

 

 

 

VEHlCLE PLATE/HACK NUMBER: iKGGB

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the following is true

t b 6;,3
l am knowledgeable in ali insurance matters of 0/\.@0 L\&/LVVI &\ 57 (hereinafter referred to as "THE

CORPORAT|ON") and of their business matters and records

ii Aside from the insurance coverage provided to you by Amerlcan Transit insurance Company at the time of the
Accideni on 04/01/2015 did you have any excess or umbrella liability insurance poiicies?
Answer: [:] YES. _;__¢; [:] NO.
2 lf the answer to the above question is Yes, please provide the following lnformation:
(a) Narne of the excess insurance company or carrisr:

(b) Po|icy Number:
(c) Dates of Coverage: ifrom) tto)

(d) Arnounis of Coverage: §

Does THE CORPORAT|ON have or know of the existence of any G.P.S. or Trip Sheet for the driv and the driv r's vehicle
from the date of the accideni?

fw mgr:: YEs. g
Print name hore: A(Vd[ Signature:

    

 

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STATE OF NEW YORK)
) ss.:
COUNTY OF QUEENS )

POPI XARRAS being duly sworn, deposes and says:
That l ani not a party to this action, l am_ over 18

years of age and reside in Queens, New York.

on :§ iQ/{/ , r Served the within NOTiCE or

MOTION in an official depository under the exclusive care and
custody of thee United States Postal Service within New York State
to each of the following persons at the last known address set

forth each name:

TO:

ROSENBERG, MUSSO & WEINER, LLP
ATTORNEYS FOR JOINTLY ADMINISTERED DEBOTORS
Fit Taxi Corp

Jackhel Cab Corp

Jarub Trans Corp

Lechaim Cab Corp

Merab Cab Corp

NY Canteen Taxi Corp

NY Energy Taxi Corp

NY Genesis Taxi Corp

NY Stance Taxi Corp

NY Tint Taxi Corp

Somyash Taxi Corp

Tamar Cab Corp

26 COURT STREET, SUITE 2211
BROOKLYN, NY 11242

ATTTENTION BRUCE WEINER, ESQ.

Capital One Equipment Finance Corp.
c/o Troutman Sanders LLP

875 Third Avenue

New York, NY 10022-6225

Capital One TMF

c/o Skadden Arps Slate
Meagher & Flom LLP

4 Times Square

New York, NY 10036~6518

 

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Capital One TMF

c/o Skadden Arps Slate
Meagher & Flom LLP

4 Times Square
Brooklyn, NY 11213

Capital One Taxi
Medallion Finance

275 Broadhallow Rd
Melville, NY 11747-4808

Capital One Taxi
Medallion Finance

275 Broadhollow Rd
Melville, NY 11747~4808

Cheryl Worrel

c/o Burns and Harris

233 Broadway, Ste. 900

New York, NY 10279-0999 Suite 445

Douglas Arevalo

c/o Harold Chetrick P.C.
60 East 42nd Street

New York, NY 10165-0443

Esma Elberg

c/o Robert W. Piken

Piken & Piken

630 Third Ave., 23rd Floor
New York, New York 10017~6731

Jacob Elberg

c/o Abrams, Fensterman, Fensterman, Eism
630 Third Avenue, Fifth Floor

New York, New York 10017

Jarub Trans. Corp

c/o Abrams, Fensterman, Fensterman, Eism
630 Third Avenue, Fifth Floor

New York, New York 10017

Karl DeVoc

c/oBarasch McGarry
Salzman & Penson

11 Park Place Ste 1801
New York, NY 10007-2811

Marc Augstin

c/o Krentsel & Guzman

17 Battery Place, Ste 604
New York, NY 10004-1135

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Office of the United States Trustee
Eastern District of NY (Brooklyn Office)
U.S. Federal Office Building

201 Varick Street, Suite 1006

New York, NY 10014~9449

Proqressive Insurance Co

c/o Feldman & Feldman, LLP

Attn: Jodi P. Feldman, Esq.

811 West Jericho Turnpike, Ste 201W
Smithtown, New York 11787-3227

Ruben Elberg
1523 President Street
Brooklyn, NY 11213-4542

Ruben Elberg

c/o Abrams, Fensterman, Fensterman, Eism
630 Third Avenue, Fifth Floor

New York, New York 10017. 10017-6705

Esma Elberg
1281 Carrol Street
Brooklyn, NY 11213-4207

Jack Margossian
301 Fieldstone Terrace
Wyckoff, NJ 07481-3503

 

 

POPI X*;><FWKAS

sworn to before me en ij \?/’ tg/

FRANCE§C© F@MARA JR-.
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STATE OF NEW YORK
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INDEX # 17-46613-NHL

US BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

 

IN RE:

BRACHA CAB CORP., ET. AL.

 

NOTiCE or MoTIoN

 

MALLILO & GROSSMAN, ESQS.
Altorneys Jean Pierre
163-09 NORTHERN BLVD
FLUSHING, NEW YORK 11358

(718) 461-6633
Fax= (718) 461-1062

Pursuant to 22 NYCRR l30-l.1A, the undersigned, an attorney admitted to practice in the courts of New York State,
certifies that, upon information and belief and reasonable inquiry, (l) the contentions contained in the annexed
document are not frivolous and that (2) if the annexed document is an initiating pleading, (i) the matter was not
obtained through illegal conduct, or that if it was, the attorney or other persons responsible for the illegal conduct are
not participating in the matter/or sharing in any fee earned therefrom and that (ii) if the matter involves potential
claims for persoi\al ini;>uj or 'rongful death, the matter was not obtained in violation-of~££\}\lYCRR lZOO.4l-a.
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Signature // “’”w 2 y

FRANCESCQ PoMARA, JR., ESQ.

 

Dated: (:l \
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